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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

SECURITIES AND EXCHANGE
COMMISSION,

                           Plaintiff,                   19 Civ. 661

                      v.

ROBERT C. MORGAN, MORGAN
MEZZANINE FUND MANAGER LLC, and
MORGAN ACQUISITIONS LLC,

                           Defendants.


   NOTICE OF PLAINTIFF’S EMERGENCY APPLICATION FOR A TEMPORARY
     RESTRAINING ORDER, PRELIMINARY INJUNCTION, ASSET FREEZE,
                    RECEIVER, AND OTHER RELIEF

       PLEASE TAKE NOTICE THAT plaintiff Securities and Exchange Commission (the

“Commission”) will move, and hereby does move, this Court for an Order:

       1.      temporarily and preliminarily, through final judgments, restraining and enjoining

defendants Robert C. Morgan (“Morgan”), Morgan Mezzanine Fund Manager LLC (the “Fund

Manager”), and Morgan Acquisitions LLC (“Morgan Acquisitions”) (collectively, “Defendants”)

from directly or indirectly committing future violations of Section 17(a) of the Securities Act [15

U.S.C. § 77q(a)] and Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5

thereunder [17 C.F.R. § 240.10b-5];

       2.      temporarily and preliminarily, through final judgments, freezing Morgan’s assets;

       3.      temporarily and preliminarily, through final judgments, appointing a receiver over

Morgan 11% Notes Fund LLC, Morgan 11% Notes Fund QP LLC, Morgan Notes Fund II LLC,

Morgan Notes Fund QP II LLC, Morgan Notes Fund III LLC, Morgan Notes Fund QP III LLC,

and Morgan Acquisitions (collectively, the “Notes Funds”) and the Fund Manager;
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       4.      temporarily and preliminarily, through final judgments, enjoining the filing of any

bankruptcy, foreclosure, receivership actions by or against the Notes Funds or the Fund

Manager;

       5.      directing Defendants to submit a verified accounting of their assets, including the

use of the Notes Funds assets, and the disposition of the assets of any current Affiliate Borrowers

(as that term is defined in the Complaint) to or for the direct or indirect benefit of Morgan; and

       6.      providing that the parties may take expedited discovery in preparation for a

preliminary injunction hearing; and

       7.      temporarily, and preliminarily through final judgments, restraining and enjoining

Defendants and any person or entity acting at their direction or on their behalf, from destroying,

altering, concealing, or otherwise interfering with the access of the Commission to relevant

documents, books and records.

       PLEASE TAKE FURTHER NOTICE THAT, in support of the application, the

Commission will rely on the Complaint, the declarations of Lee A. Greenwood and Kerri L.

Palen, and the accompanying memorandum of law.




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       PLEASE TAKE FURTHER NOTICE THAT, the Commission will seek an expedited

hearing on its Emergency Application for a Temporary Restraining Order, Asset Freeze,

Receiver, and Other Relief.

Dated: New York, New York
       May 22, 2019

                                           Respectfully submitted,
                                           By: /s/ Neal Jacobson
                                               Neal Jacobson
                                               Daniel Michael
                                               Osman Nawaz
                                               Alexander Vasilescu
                                               Neal Jacobson
                                               Joshua I. Brodsky
                                               Lee A. Greenwood
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